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                     7
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                     9
                                                   UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                               JOSEPH R. MEEHAN,                  ) Case No.
                    12                                            )
                                                 Plaintiff,       ) COMPLAINT FOR DAMAGES
                    13                                            ) AND DEMAND FOR JURY TRIAL
                                           vs.                    )
                    14                                            ) 1. Libel
                    15         ALLISON WOODARD,                   ) 2. Libel Per Se
                                                                  ) 3. Trade Libel
                    16                           Defendant.       )
                                                                  ) 4. False Light
                    17                                            ) 5. Intentional Infliction of
                                                                  )     Emotional Distress
                    18                                            ) 6. Negligent Infliction of Emotional
                                                                  )     Distress
                    19                                            ) 7. Permanent Injunction
                    20                                            ) 8. Declaratory Relief
                                                                  )
                    21              Plaintiff, JOSEPH R. MEEHAN, an individual, hereby, by and through
                    22         his counsel of record, allege as follows:
                    23                                I. JURISDICTION AND VENUE
                    24         1. This court has original jurisdiction under 28 U.S.C. §1332, because all
                    25            Plaintiffs are citizens of the state of California and defendant are citizens
                    26            of states other than the state of California. Additionally, the amount in
                    27            controversy in this matter exceeds $75,000.00, exclusive of costs and

                    28            interests as more specifically plead infra.
                                                                                             Complaint for Damages and
UTZURRUM LAW OFFICES, A.P.C.                                                                      Demand for Jury Trial
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     2. Venue is proper under U.S.C. §1391(b)(2), because a substantial amount
 1     of the events and omissions giving rise to the claim occurred in the Central
 2     District of California, and otherwise were knowingly directed at harming a
 3     citizen of the State of California and the citizen’s ability to take part in his
 4     occupation within the State of California, as more specifically plead infra.
 5                                     II. PARTIES
 6 3. Plaintiff, JOSEPH R. MEEHAN (Meehan or Plaintiff) is, and was, at all
 7    times relevant, domiciled in Los Angeles, California and thus a citizen of
 8    California. Plaintiff is referred to in the complaint herein by “Joey Ryan”
 9     which is one of Plaintiff’s professional wrestling pseudonym or persona.
10 4. Defendant, Allison Woodard (Woodard) is, and was, at all relevant times,
11    domiciled in the State of Texas and thus a citizen of the State of Texas.
12                    III. FACTS COMMON TO ALL CLAIMS
13 5. In early 2000, Plaintiff began training to become a professional wrestler of
14    the kind that is a theatrical performance as opposed to the competitive
15    Olympic style Greco-Roman and freestyle wrestling.
16 6. Before making his debut, Plaintiff spent approximately seven months
17    training, which included fitness training, learning wrestling moves and
18    learning how to develop a character and persona that an audience would
19     find entertaining, among other things.
20 7. Plaintiff made his professional wrestling debut on or about September
21    2000.
22 8. Plaintiff wrestled using various names, personas and characters, with his
23     most notable being that of “Joey Ryan”. The character and persona of
24     “Joey Ryan” was created and used in wrestling shows by Plaintiff
25     beginning on or about 2001.
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     9. Plaintiff was also involved in wrestling promotions and in one instance was
 1     one of six founders of a successful Southern California promotions called
 2     Pro Wrestling Guerrilla, known as “PWG”.
 3 10. Plaintiff formed and is the principal of “Bar Wrestling” wherein the
 4    wrestling shows promoted by Bar Wrestling would be held in various bars
 5     in Southern California, including and notably, a popular establishment
 6     called the Bootleg Theater in Los Angeles that is also a popular social
 7     venue, American Legion Hall in Baldwin Park and Glass House in
 8     Pomona.
 9 11. Any and all persons, including defendant, who know Plaintiff and the
10    wrestling character “Joey Ryan”, knows that the two are related to,
11     associated with, principals of and owners and promoters of Bar Wrestling
12     and that Bar Wrestling is a Los Angeles, California based promotion that
13     operates in Los Angeles, California.
14 12. In addition to promotions, Plaintiff is, and was, a talented and
15    entertaining wrestler and has made wrestling appearances in some of the
16     more nationally recognized promotions, including World Wrestling
17     Entertainment (WWE) and Ring of Honor (ROH), Lucha Underground
18     (Lucha) and Impact Wrestling (Impact).
19 13. Through the years “Joey Ryan” became a popular wrestling character
20    and thus on or about 2011, ten years after Plaintiff’s creation of “Joey
21     Ryan”, Plaintiff produced merchandise that Plaintiff would sell at wrestling
22     shows and on his website, for example, socks, t-shirts, sweatshirts, hats,
23     toys, pins, comic books, autograph pictures, etc. that depict the “Joey
24     Ryan” likeness, posed and in action.
25 14. Having the ability to derive income from selling merchandise is one of
26    the goals of professional wrestlers and is common for professional
27     wrestlers after the wrestler achieves a higher level of popularity, which
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                                                               Complaint for Damages and
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      would be a market indicator on determining the probability of success of
 1    merchandise sales and justify incurring the cost of production.
 2 15. For the past twenty years, Plaintiff spent a great deal of resources,
 3    including, time and money, in promoting himself as a wrestler and
 4    promoting his wrestling shows, including Bar Wrestling, as well as
 5    developing innovative ways to keep his wrestling character “Joey Ryan”
 6    popular and/or interesting to the wrestling community.
 7 16. The popularity of a wrestler may be determined by how many persons
 8    are interested in the wrestler’s activities and thoughts. Over the last fifteen
 9    years or so “social networking” or “social media” applications and websites
10    have been one of the go-to indicators of the level of popularity and public
11    interest in persons and subject matters.
12 17. Plaintiff has performed in twelve different countries and over half of the
13    United States. Beginning in 2016, Plaintiff’s popularity and interest have
14    grown to performing in more than two hundred events per year.
15 18. Twitter is a social networking or social media service where users can
16    publish or post messages and statements in order to interact with other
17    users. The messages are called “tweets”. Registered users can publish or
18    post messages and statements, but non-registered users can only read
19    them. Unless the registered users change the default setting, tweets can
20    be read by any person who can access twitter.com. That is to say Twitter
21    is not an application that is meant to make the user’s messages more
22    private. In the instant case the defendant had, and has, her Twitter
23    messages, i.e., tweets, retweets, replies, and likes, accessible and
24    displayed to any person who can access Twitter.
25 19. Twitter also permits account holders to “follow” each other so that each
26    user can be directly notified of posts made by other accountholders.
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     20.   Twitter explains what a “Like” is in its “Help Center” webpage, “Likes
 1     are represented by a small heart and are used to show appreciation for a
 2     Tweet. You can view the Tweets you've liked from your profile page by
 3     clicking or tapping into the Likes tab.”
 4 21. Twitter explains what a “Retweet” is in its “Help Center” webpage, “A
 5    Retweet is a re-posting of a Tweet. Twitter's Retweet feature helps you
 6     and others quickly share that Tweet with all of your followers. You can
 7     Retweet your own Tweets or Tweets from someone else. Sometimes
 8     people type ‘RT’ at the beginning of a Tweet to indicate that they are re-
 9     posting someone else's content. This isn't an official Twitter command or
10     feature, but signifies that they are quoting another person's Tweet.” As
11     such, resending messages to the public and other users are made by the
12     volitional act of the Twitter accountholder. Defendant’s retweets were
13     made by the volitional act of the defendant.
14 22. Generally, a hashtag, i.e., “#”, that is followed by specific characters
15    make content more discoverable on social media platforms and assist in
16     engaging with other social media users based on a common theme or
17     interest. Clicking on or searching any hashtag directs a user to
18     every social media post using the same hashtag, whether Twitter,
19     Instagram, Facebook, etc. Twitter explains what a hashtag is in its “Help
20     Center” webpage,
21              A hashtag—written with a # symbol—is used to index
22              keywords or topics on Twitter. This function was
                created on Twitter, and allows people to easily follow
23              topics they are interested in.
24              Using hashtags to categorize Tweets by keyword
                •     People use the hashtag symbol (#) before a
25
                relevant keyword or phrase in their Tweet to
26              categorize those Tweets and help them show more
                easily in Twitter search.
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               •     Clicking or tapping on a hashtagged word in any
 1             message shows you other Tweets that include that
               hashtag.
 2
               •     Hashtags can be included anywhere in a Tweet.
 3             •     Hashtagged words that become very popular
               are often trending topics.
 4
 5 23.   Instagram is another social networking or social media service that
 6    allows users to upload videos and photos and uses hashtags to connect
 7    users in the same manner as Twitter. When one user wants to check on
 8    and routinely get updates on another Instagram account holder, the user
 9    can “follow” another Instagram user, much like Twitter.
10 24.   Instagram uses what it calls “stories” for Instagram accountholders to
11    more closely directly connect with their followers. Stories are posts of
12    videos, photos and statements made by the Instagram account holder that
13    are made directly available to the Instagram accountholder’s followers and
14    remain available for twenty-four hours. After an item is posted to the
15    accountholder’s story, those following are notified of the story post.
16 25.   Up until June 2020 Plaintiff had 157,000 followers on his Instagram
17    account and 143,000 followers on his Twitter account.
18 26.   Plaintiff has a Twitter “handle” of “JoeyRyanOnline”, which is to say that
19    such is the manner in which Plaintiff is identified in his Twitter social media
20    account. The Twitter handle is usually identified by the characters
21    following “@”. Additionally, a social media “handle” is the manner in which
22    a person is identified in the social media application/website.
23 27.   In or around June 2020, “#SpeakingOut” is a social media trend and
24    community that is being used to accuse wrestlers, promotors,
25    personalities and journalists of sexual misconduct.
26 28.   Patreon is website or platform that allow artists and creators to publish
27    content, e.g., videos’, photos, etc. and also allows users to interact
28    through chat, for example, by paying monthly membership fee. By paying
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      the membership fee persons become “patrons”. Plaintiff is and was a
 1    member of Patreon and does, and did, have subscribers who paid Plaintiff
 2    monthly membership fees that paid for access to Plaintiff’s posted videos,
 3    photos, media, etc.
 4 29. Cameo is website to create income stream. As Cameo.com describes
 5    on its “Frequently Asked Questions” webpage, “Cameo operates the
 6    CAMEO™ Marketplace — through our website and app — that lets fans
 7    book a personalized video shout-out — a CAMEO video — from their
 8    favorite talent. Our mission is to create the most personalized and
 9    authentic fan experiences in the world.”
10 30. As to all of the defendant’s conduct above and below described,
11    specifically since defendant has published her statements on social
12    networking sites, Plaintiff has,
13          a. Lost followers on his Twitter account of at least 11,000 followers
14             and is no longer getting 1,000 followers per month as Plaintiff
15             was prior to defendant’s statements;
16          b. Lost followers on his Instagram account at least 8,000 followers
17             and is no longer getting 1,000 followers per month as Plaintiff
18             was prior to defendant’s statements;
19          c. Lost venues for his Bar Wrestling promotions, including Bootleg
20             Theatre in Los Angeles, American Legion Hall in Baldwin Park
21             and Glass House in Pomona;
22          d. Lost revenues from Bar Wrestling in the amount of $1,500.00 per
23             month from distribution and streaming services and $2,000.00
24             per event with two events per month;
25          e. Lost revenues from merchandising in the amount of $1,000.00
26             per month;
27
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            f. Lost revenues in his Patreon account in the amount of $3,000.00
 1            per month;
 2          g. Lost revenues in his Cameo account in the amount of $500.00
 3            per month;
 4          h. Lost revenues from Twitch account in the amount of $1,000.00
 5            per month plus subscription shares and tips from subscribers;
 6          i. Lost revenues from Wrestling Performance Bookings of
 7            $8,000.00 to $10,000.00 per month.
 8
              IV. FALSE STATEMENTS MADE ABOUT PLAINTIFF
 9 A.    Allison Woodard
10 31.   Defendant, Allison Woodard (Woodard) is also known as “Allie Kat”
11    and performs as a professional wrestler and entertainer under the
12    pseudonym “Allie Kat”.
13 32. As of September 18, 2020, Woodard had 700 “Following” and 20,000
14    “Followers” on her Twitter account wherein she used the handle
15    “meowdyxyall”.
16 33. On or about June 22, 2020, Alexandra Gracia (Gracia) used her twitter
17    account with the handle “alexgracia3” to post a statement on Gracia’s
18    Twitter account to add her story to the #SpeakingOut movement of a
19    sexual assault that Gracia believes was perpetrated by Plaintiff,
20    notwithstanding Gracia unequivocally pursuing Plaintiff romantically.
21    Although Gracia and Plaintiff did not have a sexual encounter and there
22    was no assault, Gracia posted her accusation and added to the popularity
23    or the trending movement. (Gracia Statement)
24 34. On June 22, 2020, Woodard used her Twitter account with the handle
25    “meowdyxyall” to make the statement, “All I’m gonna say is, sounds
26    almost identical to how my experience with him started. Theres [sic] a lot
27
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      of us.” and then attached the Gracia Defamatory Statement. (Woodard
 1    Defamatory Statement)
 2 35. Immediately before making the Woodard Defamatory Statement,
 3    Woodard used her twitter account with the handle “meowdyxyall” to post a
 4    statement “Is this abuse? Is this happening to you? These are common
 5    tactics abusers used to keep you under, a thread:” and then posted what
 6    Woodard believes are the traits and characteristics of abusers. Over 1,000
 7    replies resulted from the Woodard’s post with many persons replying with
 8    their abuse and sexual assault accusation.
 9 36. Woodard Defamatory Statement was an accusation that Plaintiff
10    assaulted Woodard especially since “#SpeakingOut” was part of
11    Woodard’s Defamatory Statement.
12 37. Woodard implied that she had the same experience with Plaintiff as
13    described by Gracia, for example, that Plaintiff crossed some kind of
14    sexual boundary that Woodard had established with Plaintiff.
15 38. As of September 3, 2020, Woodard Defamatory Statement was
16    Replied to 18 times and ”Retweeted” at least 71 times, with 572 “Likes”.
17 39. On information and belief, Woodard Defamatory Statement is available
18    to view by any person interested or who happens upon Woodard’s Twitter
19    timeline. Also, no statement retracting Woodard Defamatory Statement
20    has been made by Woodard.
21 40. In addition, since Woodard Defamatory Statement includes the
22    “#SpeakingOut” identifier, any person who google searches #SpeakingOut
23    will necessarily read Woodard Defamatory Statement.
24 41. Woodard Defamatory Statement is, and was, false, including that
25    Plaintiff did not assault Woodard in any way shape or form, sexual or
26    otherwise. Any intimate acts between Plaintiff and Woodard were made
27    with Woodard’s clear consent and was bragged about by Woodard to
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       other persons. Plaintiff and Woodard were involved in a sexual encounter
 1     with another woman and was unequivocally made with the consent of all
 2     person’s involved.
 3
                                          I. CLAIM I
 4                                (Libel against Defendant)
 5 42. Plaintiff incorporates by reference paragraphs 1 through 41 as though
 6    fully set forth herein.
 7 43. Defendant made and published the defamatory statements as
 8    specifically described above and herein,
 9           a. Woodard Defamatory Statement
10 44. Defendant used at least Twitter, including on and in each of her own
11    Twitter subscriptions, accounts, identities, and handles, to write, and
12     thereby publish, the defamatory statements described above and
13     incorporated by reference herein, which included, that (1) Plaintiff
14     assaulted defendant; (2) Plaintiff committed a sexual battery on
15     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
16     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
17     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
18     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
19     threat and intimidation.
20 45. On information and belief, defendant did use other social media
21    websites to write, and thereby publish, the defamatory statements
22     described above and incorporated by reference herein.
23 46. Prior to publishing the defamatory statements, defendant was fully
24    aware that Twitter and the other social media websites used to publish
25     defendant’s defamatory statements described above and incorporated by
26     reference herein had members and subscribers located worldwide and
27     were connected to the professional wrestling industry, because defendant
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       was a user, subscriber and account holder of Twitter and had Twitter
 1     handles and thus understood how Twitter and social media websites
 2     worked.
 3 47. Prior to publishing the defamatory statements, defendant was fully
 4    aware that Twitter had a membership of approximately in excess of three
 5     hundred million persons and that by publishing the defamatory
 6     statements, the defamatory statements would be read by hundreds to
 7     thousands of Twitter’s membership, because defendant was a user,
 8     subscriber and account holder of Twitter and had Twitter handles and thus
 9     understood how Twitter and social media websites worked.
10 48. Prior to publishing the defamatory statements, defendant was fully
11    aware that publishing the defamatory statements described above and
12     incorporated by reference herein would reach the eyes and ears of at
13     least hundreds to thousands of persons, and that after defendant did
14     publish the defamatory statements described above and incorporated by
15     reference herein that the published defamatory statements did reach the
16     eyes and ears of at least hundreds to thousands of persons, because
17     defendant was a user, subscriber and account holder of Twitter and had
18     Twitter handles and thus understood how Twitter and social media
19     websites worked.
20 49. Defendant published the defamatory statements described above and
21    incorporated by reference herein fully aware that Plaintiff lived in Los
22     Angeles, California and that Plaintiff was a professional wrestler and
23     promotor in the state of California. Defendant was fully aware that Plaintiff
24     was a principal of Bar Wrestling and that Bar Wrestling promoted wrestling
25     matches in bars in Los Angeles, California.
26 50. Defendant was fully aware that Defendant’s defamatory statements
27    described above and incorporated by reference herein would cause a
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       negative effect on Plaintiff as a professional wrestler and wrestling
 1     promotor, i.e., defendant intended that the defamatory statements would
 2     prevent Plaintiff from practicing as a professional wrestler and further
 3     wrestling promotions. In addition, defendant was fully aware that because
 4     of the defamatory statements, Plaintiff’s reputation would be damaged in
 5     the community in California and the virtual community located in the world-
 6     wide-web that were related to Plaintiff’s as a professional wrestler and
 7     wrestling promotor
 8 51. It was, is, and has always been, untrue, and false, that (1) Plaintiff
 9    assaulted defendant; (2) Plaintiff committed a sexual battery on
10     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
11     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
12     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
13     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
14     threat and intimidation.
15 52. Defendant’s defamatory statements were not privileged and Plaintiff did
16    not consent to the publication of the defamatory statements. Plaintiff, in
17     fact, implored defendant to stop the publication of the defamatory
18     statements. Defendant responded by repeating more statements that (1)
19     Plaintiff assaulted defendant; (2) Plaintiff committed a sexual battery on
20     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
21     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
22     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
23     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
24     threat and intimidation.
25 53. Prior to publishing the defamatory statements, defendant knew and
26    otherwise were fully aware that the defamatory statements were not true.
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     54.   Prior to publishing the defamatory statements, defendant acted in
 1     reckless disregard for the truth in the defamatory statements by not
 2     conducting any diligence, inquiry and investigation as to whether or not
 3     the defamatory statements were true or false.
 4 55. Prior to publishing the defamatory statements, defendant failed to use
 5    reasonable care to determine the truth or falsity in the defamatory
 6     statements by not conducting reasonable diligence, inquiry and
 7     investigation as to whether or not the defamatory statements were true or
 8     false.
 9 56. The hundreds to thousands of person who did read defendant’s
10    defamatory statements on Twitter and other social media websites
11     understood the defamatory statements to be of and concerning Plaintiff
12     and were understood by the hundreds to thousands of persons to mean
13     that (1) Plaintiff assaulted defendant; (2) Plaintiff committed a sexual
14     battery on defendant; (3) Plaintiff committed (1) and (2) in a manner that
15     would be considered a felony;(4) defendant engaged in sexual acts with
16     Plaintiff without Defendant’s consent; and/or (5) defendant was forced by
17     Plaintiff to engage in sexual acts with Plaintiff, forced meaning the use of
18     fear, threat and intimidation.
19 57. Because of the facts and circumstances that were known to the
20    hundreds to thousands of readers of the defamatory statements, including
21     that Plaintiff was a professional wrestler and wrestling promotor in
22     California,
23         (1)The defamatory statements tended to injure Plaintiff as a
24           professional wrestler and wrestling promotor, and otherwise injure
25           Plaintiff whether or not as a professional wrestler and wrestling
26           promotor;
27         (2)The defamatory statements exposed Plaintiff to hatred, contempt,
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             ridicule, and shame by (1) persons residing in California; (2) persons
 1           involved and interested in professional wrestling and wrestling
 2           promotions; and (4) those persons using the world-wide-web
 3           interested in Plaintiff, professional wrestling and wrestling
 4           promotions; and
 5        (3)The defamatory statements discouraged others from associating or
 6           dealing with Plaintiff.
 7 58. Defendant knew that the listeners and readers of the defamatory
 8    statements would be compelled to republish the defamatory statements to
 9     others by word of mouth, electronic communication and through social
10     media websites and the persons who did hear and did read the
11     defamatory statements did republish the defamatory statements to others,
12     because defendant was a user, subscriber and account holder of Twitter
13     and had Twitter handles and thus understood how Twitter and social
14     media websites worked.
15 59. Defendant’s defamatory statements caused Plaintiff to lose
16    employment and income.
17 60. Defendant’s defamatory statements caused Plaintiff’s California and
18    virtual community to shun him, avoid him and hate him and further caused
19     Plaintiff’s California and virtual community to stop being his friend, stop
20     following him, or otherwise end any, and all, connection and association to
21     Plaintiff.
22 61. Plaintiff’s personal and professional reputation were harmed as a result
23    of defendant’s defamatory statements and such reputation is continuing to
24     be harmed because defendant continues to make the same defamatory
25     statements as described and continues to permit the defamatory
26     statements to go viral on social media websites.
27 62.    Plaintiff sustained reputational and financial harm to his businesses,
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       professions and occupations as a result of the defamatory statements.
 1 63. Plaintiff was damaged as set forth below and as follows,
 2    WHEREFORE Plaintiff prays that this court grant relief in compensatory
 3 damages against each defendant and in favor of Plaintiff in the amount of
 4 $5,000.000.00, for an order retracting and correcting the defamatory
 5 statements, for equitable relief based on principles that are fair and just, and
 6 for judgment as also set forth below.
 7     WHEREFORE, Plaintiff prays for judgment as further set forth below.
 8                                    II.CLAIM II
 9                         (Libel Per Se against defendant)
10 64. Plaintiff incorporates by reference paragraphs 1 through 63 as though
11    fully set forth herein.
12 65. Defendant made and published the defamatory statements as
13    specifically described above, which among other things falsely accused
14     Plaintiff of committing a crime that was a felony, e.g., rape, assault, and
15     sexual battery, and accused Plaintiff of being unfit and incompetent to
16     practice in his profession as a professional wrestler and wrestling
17     promotor.
18 66. Defendant made and published the defamatory statements as
19    specifically described above and herein,
20           a. Woodard Defamatory Statement
21 67. Defendant used at least Twitter, including on and in each of her own
22    Twitter subscriptions, accounts, identities, and handles, to write, and
23     thereby publish, the defamatory statements described above and
24     incorporated by reference herein, which included, that (1) Plaintiff
25     assaulted defendant; (2) Plaintiff committed a sexual battery on
26     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
27     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
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       without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
 1     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
 2     threat and intimidation.
 3 68. On information and belief, defendant did use other social media
 4    websites to write, and thereby publish, the defamatory statements
 5     described above and incorporated by reference herein.
 6 69. Prior to publishing the defamatory statements, defendant was fully
 7    aware that Twitter and the other social media websites used to publish
 8     defendant’s defamatory statements described above and incorporated by
 9     reference herein had members and subscribers located worldwide and
10     were connected to the professional wrestling industry, because defendant
11     was a user, subscriber and account holder of Twitter and had Twitter
12     handles and thus understood how Twitter and social media websites
13     worked.
14 70. Prior to publishing the defamatory statements, defendant was fully
15    aware that Twitter had a membership of approximately in excess of three
16     hundred million persons and that by publishing the defamatory
17     statements, the defamatory statements would be read by hundreds to
18     thousands of Twitter’s membership, because defendant was a user,
19     subscriber and account holder of Twitter and had Twitter handles and thus
20     understood how Twitter and social media websites worked.
21 71. Prior to publishing the defamatory statements, defendant was fully
22    aware that publishing the defamatory statements described above and
23     incorporated by reference herein would reach the eyes and ears of at
24     least hundreds to thousands of persons, and that after defendant did
25     publish the defamatory statements described above and incorporated by
26     reference herein that the published defamatory statements did reach the
27     eyes and ears of at least hundreds to thousands of persons, because
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                                                               Complaint for Damages and
                                                                    Demand for Jury Trial
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       defendant was a user, subscriber and account holder of Twitter and had
 1     Twitter handles and thus understood how Twitter and social media
 2     websites worked.
 3 72. Defendant published the defamatory statements described above and
 4    incorporated by reference herein fully aware that Plaintiff lived in Los
 5     Angeles, California and that Plaintiff was a professional wrestler and
 6     promotor in the state of California. Defendant was fully aware that Plaintiff
 7     was a principal of Bar Wrestling and that Bar Wrestling promoted wrestling
 8     matches in bars in Los Angeles, California.
 9 73. Defendant was fully aware that Defendant’s defamatory statements
10    described above and incorporated by reference herein would cause a
11     negative effect on Plaintiff as a professional wrestler and wrestling
12     promotor, i.e., defendant intended that the defamatory statements would
13     prevent Plaintiff from practicing as a professional wrestler and further
14     wrestling promotions. In addition, defendant was fully aware that because
15     of the defamatory statements, Plaintiff’s reputation would be damaged in
16     the community in California and the virtual community located in the world-
17     wide-web that were related to Plaintiff’s as a professional wrestler and
18     wrestling promotor
19 74. It was, is, and has always been, untrue, and false, that (1) Plaintiff
20    assaulted defendant; (2) Plaintiff committed a sexual battery on
21     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
22     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
23     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
24     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
25     threat and intimidation.
26 75. Defendant’s defamatory statements were not privileged and Plaintiff did
27    not consent to the publication of the defamatory statements. Plaintiff, in
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                                                               Complaint for Damages and
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       fact, implored defendant to stop the publication of the defamatory
 1     statements. Defendant responded by repeating more statements that (1)
 2     Plaintiff assaulted defendant; (2) Plaintiff committed a sexual battery on
 3     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
 4     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
 5     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
 6     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
 7     threat and intimidation.
 8 76. Prior to publishing the defamatory statements, defendant knew and
 9    otherwise were fully aware that the defamatory statements were not true.
10 77. Prior to publishing the defamatory statements, defendant acted in
11    reckless disregard for the truth in the defamatory statements by not
12     conducting any diligence, inquiry and investigation as to whether or not
13     the defamatory statements were true or false.
14 78. Prior to publishing the defamatory statements, defendant failed to use
15    reasonable care to determine the truth or falsity in the defamatory
16     statements by not conducting reasonable diligence, inquiry and
17     investigation as to whether or not the defamatory statements were true or
18     false.
19 79. The hundreds to thousands of person who did read defendant’s
20    defamatory statements on Twitter and other social media websites
21     understood the defamatory statements to be of and concerning Plaintiff
22     and were understood by the hundreds to thousands of persons to mean
23     that (1) Plaintiff assaulted defendant; (2) Plaintiff committed a sexual
24     battery on defendant; (3) Plaintiff committed (1) and (2) in a manner that
25     would be considered a felony;(4) defendant engaged in sexual acts with
26     Plaintiff without Defendant’s consent; and/or (5) defendant was forced by
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                                                               Complaint for Damages and
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       Plaintiff to engage in sexual acts with Plaintiff, forced meaning the use of
 1     fear, threat and intimidation.
 2 80. Because of the facts and circumstances that were known to the
 3    hundreds to thousands of readers of the defamatory statements, including
 4     that Plaintiff was a professional wrestler and wrestling promotor in
 5     California,
 6     (1) The defamatory statements tended to injure Plaintiff as a professional
 7        wrestler and wrestling promotor, and otherwise injure Plaintiff whether
 8        or not as a professional wrestler and wrestling promotor;
 9     (2) The defamatory statements exposed Plaintiff to hatred, contempt,
10        ridicule, and shame by (1) persons residing in California; (2) persons
11        involved and interested in professional wrestling and wrestling
12        promotions; and (4) those persons using the world-wide-web interested
13        in Plaintiff, professional wrestling and wrestling promotions; and
14     (3) The defamatory statements discouraged others from associating or
15        dealing with Plaintiff.
16 81. Defendant knew that the listeners and readers of the defamatory
17    statements would be compelled to republish the defamatory statements to
18     others by word of mouth, electronic communication and through social
19     media websites and the persons who did hear and did read the
20     defamatory statements did republish the defamatory statements to others,
21     because defendant was a user, subscriber and account holder of Twitter
22     and had Twitter handles and thus understood how Twitter and social
23     media websites worked.
24 82. Defendant’s defamatory statements caused Plaintiff to lose
25    employment and income.
26 83. Defendant’s defamatory statements caused Plaintiff’s California and
27    virtual community to shun him, avoid him and hate him and further caused
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                                                                Complaint for Damages and
                                                                     Demand for Jury Trial
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       Plaintiff’s California and virtual community to stop being his friend, stop
 1     following him, or otherwise end any, and all, connection and association to
 2     Plaintiff.
 3 84. Plaintiff’s personal and professional reputation were harmed as a result
 4    of defendant’s defamatory statements and such reputation is continuing to
 5     be harmed because defendant continues to make the same defamatory
 6     statements as described and continues to permit the defamatory
 7     statements to go viral on social media websites.
 8 85. Plaintiff sustained reputational and financial harm to his businesses,
 9    professions and occupations as a result of the defamatory statements.
10 86. Plaintiff was damaged as set forth below and as follows,
11    WHEREFORE Plaintiff prays that this court grant relief in compensatory
12 damages against each defendant and in favor of Plaintiff in the amount of
13 $5,000.000.00, for an order retracting and correcting the defamatory
14 statements, for equitable relief based on principles that are fair and just, and
15 for judgment as also set forth below.
16     WHEREFORE, Plaintiff prays for judgment as further set forth below.
17                                    III.CLAIM III
18                          (Trade Libel against defendant)
19 87. Plaintiff incorporates by reference paragraphs 1 through 86 as though
20    fully set forth herein.
21 88. Defendant made and published the defamatory statements as
22    specifically described above, which among other things falsely accused
23     Plaintiff of committing and rendering unprofessional and substandard
24     services as a professional wrestler, wrestling promotor, and additionally
25     tarnished the “Joey Ryan” brand name. Plaintiff has spent over twenty
26     years in developing his brand by promoting his wrestling, personality, and
27     character portrayal of “Joey Ryan” more immediately, through social
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                                                                Complaint for Damages and
                                                                     Demand for Jury Trial
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       media websites, including Twitter, Facebook, YouTube, Patreon and
 1     Cameo. Patreon and Cameo garnered monthly revenues to Plaintiff. The
 2     Joey Ryan brand also generated revenues in merchandising, ironically
 3     purchased by some of Joey Ryan’s false accusers.
 4 89. Defendant made and published the defamatory statements as
 5    specifically described above and herein,
 6           a. Woodard Defamatory Statement
 7 90. Defendant used at least Twitter, including on and in each of her own
 8    Twitter subscriptions, accounts, identities, and handles, to write, and
 9     thereby publish, the defamatory statements described above and
10     incorporated by reference herein, which included, that (1) Plaintiff
11     assaulted defendant; (2) Plaintiff committed a sexual battery on
12     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
13     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
14     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
15     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
16     threat and intimidation.
17 91. On information and belief, defendant did use other social media
18    websites to write, and thereby publish, the defamatory statements
19     described above and incorporated by reference herein.
20 92. Prior to publishing the defamatory statements, defendant was fully
21    aware that Twitter and the other social media websites used to publish
22     defendant’s defamatory statements described above and incorporated by
23     reference herein had members and subscribers located worldwide and
24     were connected to the professional wrestling industry, because defendant
25     was a user, subscriber and account holder of Twitter and had Twitter
26     handles and thus understood how Twitter and social media websites
27     worked.
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                                                               Complaint for Damages and
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     93.   Prior to publishing the defamatory statements, defendant was fully
 1     aware that Twitter had a membership of approximately in excess of three
 2     hundred million persons and that by publishing the defamatory
 3     statements, the defamatory statements would be read by hundreds to
 4     thousands of Twitter’s membership, because defendant was a user,
 5     subscriber and account holder of Twitter and had Twitter handles and thus
 6     understood how Twitter and social media websites worked.
 7 94. Prior to publishing the defamatory statements, defendant was fully
 8    aware that publishing the defamatory statements described above and
 9     incorporated by reference herein would reach the eyes and ears of at
10     least hundreds to thousands of persons, and that after defendant did
11     publish the defamatory statements described above and incorporated by
12     reference herein that the published defamatory statements did reach the
13     eyes and ears of at least hundreds to thousands of persons, because
14     defendant was a user, subscriber and account holder of Twitter and had
15     Twitter handles and thus understood how Twitter and social media
16     websites worked.
17 95. Defendant published the defamatory statements described above and
18    incorporated by reference herein fully aware that Plaintiff lived in Los
19     Angeles, California and that Plaintiff was a professional wrestler and
20     promotor in the state of California. Defendant was fully aware that Plaintiff
21     was a principal of Bar Wrestling and that Bar Wrestling promoted wrestling
22     matches in bars in Los Angeles, California.
23 96. Defendant was fully aware that Defendant’s defamatory statements
24    described above and incorporated by reference herein would cause a
25     negative effect on Plaintiff as a professional wrestler and wrestling
26     promotor, i.e., defendant intended that the defamatory statements would
27     prevent Plaintiff from practicing as a professional wrestler and further
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                                                               Complaint for Damages and
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       wrestling promotions. In addition, defendant was fully aware that because
 1     of the defamatory statements, Plaintiff’s reputation would be damaged in
 2     the community in California and the virtual community located in the world-
 3     wide-web that were related to Plaintiff’s as a professional wrestler and
 4     wrestling promotor
 5 97. It was, is, and has always been, untrue, and false, that (1) Plaintiff
 6    assaulted defendant; (2) Plaintiff committed a sexual battery on
 7     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
 8     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
 9     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
10     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
11     threat and intimidation.
12 98. Defendant’s defamatory statements were not privileged and Plaintiff did
13    not consent to the publication of the defamatory statements. Plaintiff, in
14     fact, implored defendant to stop the publication of the defamatory
15     statements. Defendant responded by repeating more statements that (1)
16     Plaintiff assaulted defendant; (2) Plaintiff committed a sexual battery on
17     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
18     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
19     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
20     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
21     threat and intimidation.
22 99. Prior to publishing the defamatory statements, defendant knew and
23    otherwise were fully aware that the defamatory statements were not true.
24 100. Prior to publishing the defamatory statements, defendant acted in
25   reckless disregard for the truth in the defamatory statements by not
26     conducting any diligence, inquiry and investigation as to whether or not
27     the defamatory statements were true or false.
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                                                               Complaint for Damages and
                                                                    Demand for Jury Trial
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     101. Prior to publishing the defamatory statements, defendant failed to use
 1     reasonable care to determine the truth or falsity in the defamatory
 2     statements by not conducting reasonable diligence, inquiry and
 3     investigation as to whether or not the defamatory statements were true or
 4     false.
 5 102. The hundreds to thousands of person who did read defendant’s
 6   defamatory statements on Twitter and other social media websites
 7     understood the defamatory statements to be of and concerning Plaintiff
 8     and were understood by the hundreds to thousands of persons to mean
 9     that (1) Plaintiff assaulted defendant; (2) Plaintiff committed a sexual
10     battery on defendant; (3) Plaintiff committed (1) and (2) in a manner that
11     would be considered a felony;(4) defendant engaged in sexual acts with
12     Plaintiff without Defendant’s consent; and/or (5) defendant was forced by
13     Plaintiff to engage in sexual acts with Plaintiff, forced meaning the use of
14     fear, threat and intimidation.
15 103. Because of the facts and circumstances that were known to the
16   hundreds to thousands of readers of the defamatory statements, including
17     that Plaintiff was a professional wrestler and wrestling promotor in
18     California,
19     (1) The defamatory statements tended to injure Plaintiff as a professional
20        wrestler and wrestling promotor, and otherwise injure Plaintiff whether
21        or not as a professional wrestler and wrestling promotor;
22     (2) The defamatory statements exposed Plaintiff to hatred, contempt,
23        ridicule, and shame by (1) persons residing in California; (2) persons
24        involved and interested in professional wrestling and wrestling
25        promotions; and (4) those persons using the world-wide-web interested
26        in Plaintiff, professional wrestling and wrestling promotions; and
27     (3) The defamatory statements discouraged others from associating or
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                                                                Complaint for Damages and
                                                                     Demand for Jury Trial
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          dealing with Plaintiff.
 1 104. Defendant knew that the listeners and readers of the defamatory
 2   statements would be compelled to republish the defamatory statements to
 3     others by word of mouth, electronic communication and through social
 4     media websites and the persons who did hear and did read the
 5     defamatory statements did republish the defamatory statements to others,
 6     because defendant was a user, subscriber and account holder of Twitter
 7     and had Twitter handles and thus understood how Twitter and social
 8     media websites worked.
 9 105. Defendant’s defamatory statements caused Plaintiff to lose
10   employment and income.
11 106. Defendant’s defamatory statements caused Plaintiff’s California and
12   virtual community to shun him, avoid him and hate him and further caused
13     Plaintiff’s California and virtual community to stop being his friend, stop
14     following him, or otherwise end any, and all, connection and association to
15     Plaintiff.
16 107. Plaintiff’s personal and professional reputation were harmed as a result
17   of defendant’s defamatory statements and such reputation is continuing to
18     be harmed because defendant continues to make the same defamatory
19     statements as described and continues to permit the defamatory
20     statements to go viral on social media websites.
21 108. Plaintiff sustained reputational and financial harm to his businesses,
22   professions and occupations as a result of the defamatory statements.
23 109. Plaintiff was damaged as set forth below and as follows,
24   WHEREFORE Plaintiff prays that this court grant relief in compensatory
25 damages against each defendant and in favor of Plaintiff in the amount of
26 $5,000.000.00, for an order retracting and correcting the defamatory
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                                                                Complaint for Damages and
                                                                     Demand for Jury Trial
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     statements, for equitable relief based on principles that are fair and just, and
 1 for judgment as also set forth below.
 2    WHEREFORE Plaintiff prays that this court grant relief in compensatory
 3 damages against each defendant and in favor of Plaintiff in the amount of
 4 $5,000.000.00, for an order retracting and correcting the defamatory
 5 statements, for equitable relief based on principles that are fair and just, and
 6 for judgment as also set forth below.
 7      WHEREFORE, Plaintiff prays for judgment as further set forth below
 8                                     IV.CLAIM IV
 9                           (False Light against defendant)
10 110. Plaintiff incorporates by reference paragraphs 1 through 109 as though
11   fully set forth herein.
12 111. Defendant published the defamatory statements as specifically
13   described above and incorporated herein, as
14            a. Woodard Defamatory Statement.
15      and the statements showed Plaintiff in a false light.
16 112. The false light was highly offensive to a reasonable person in Plaintiff’s
17   position, because Plaintiff did not rape, assault, commit sexual battery on
18      any person.
19 113. Defendant knew that the publication of the defamatory statements
20   would create a false impression that (1) Plaintiff assaulted defendant; (2)
21      Plaintiff committed a sexual battery on defendant; (3) Plaintiff committed
22      (1) and (2) in a manner that would be considered a felony;(4) defendant
23      engaged in sexual acts with Plaintiff without Defendant’s consent; and/or
24      (5) defendant was forced by Plaintiff to engage in sexual acts with Plaintiff,
25      forced meaning the use of fear, threat and intimidation.
26 114. Defendant’s defamatory statements were not privileged and Plaintiff did
27   not consent to the publication of the defamatory statements. Plaintiff, in
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                                                                 Complaint for Damages and
                                                                      Demand for Jury Trial
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       fact, implored defendant to stop the publication of the defamatory
 1     statements.
 2 115. Prior to publishing the defamatory statements, defendant knew that
 3   publishing the defamatory statements would create a false impression
 4     about Plaintiff.
 5 116. Prior to publishing the defamatory statements, defendant acted in
 6   reckless disregard for the truth in the defamatory statements by not
 7     conducting any diligence, inquiry and investigation as to whether or not
 8     the defamatory statements were true or false.
 9 117. Prior to publishing the defamatory statements, defendant failed to use
10   reasonable care to determine the truth or falsity in the defamatory
11     statements by not conducting reasonable diligence, inquiry and
12     investigation as to whether or not the defamatory statements were true or
13     false.
14 118. Plaintiff sustained reputational and financial harm as result of
15   defendant’s publication of the defamatory statements.
16        WHEREFORE Plaintiff requests that this court grant relief in
17 compensatory damages against each defendant and in favor of Plaintiff in the
18 amount of $5,000.000.00, for an order retracting and correcting the
19 defamatory statements and any equitable relief based on principles that are
20 fair and just.
21        WHEREFORE, Plaintiff prays for judgment as further set forth below
22                                    V.CLAIM V
23          (Intentional Infliction of Emotional Distress against defendant)
24 119. Plaintiff incorporates by reference paragraphs 1 through 118 as though
25   fully set forth herein.
26 120. Defendant published the defamatory statements as specifically
27   described above and incorporated herein, as
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                                                               Complaint for Damages and
                                                                    Demand for Jury Trial
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                a. Woodard Defamatory Statement
 1 121. Defendant’s conduct was outrageous.
 2 122. Defendant’s conduct was intended by each defendant, or carried out in
 3   reckless disregard, to cause Plaintiff emotional distress.
 4 123. Plaintiff suffered severe emotional distress.
 5 124. Defendant’s conduct was a substantial factor in causing Plaintiff’s
 6   emotional distress.
 7     WHEREFORE Plaintiff prays that this court grant relief in compensatory
 8 damages against each defendant and in favor of Plaintiff in the amount of
 9 $5,000.000.00, for an order retracting and correcting the defamatory
10 statements, for equitable relief based on principles that are fair and just, and
11 for judgment as also set forth below.
12     WHEREFORE, Plaintiff prays for judgment as further set forth below
13                                      VI.CLAIM VI
14              (Negligent Infliction of Emotional Distress against defendant)
15 125. Plaintiff incorporates by reference paragraphs 1 through 124 as though
16   fully set forth herein.
17 126. Defendant published the defamatory statements as specifically
18   described above and incorporated herein as,
19              a. Woodard Defamatory Statement
20 127. Prior to publishing the defamatory statements, defendant failed to use
21   reasonable care to determine the truth or falsity in the defamatory
22     statements by not conducting reasonable diligence, inquiry and
23     investigation as to whether or not the defamatory statements were true or
24     false.
25 128. Defendant was at least negligent.
26 129. Plaintiff suffered severe emotional distress.
27 130. Defendant’s negligent conduct was a substantial factor in causing
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                                                                  Complaint for Damages and
                                                                       Demand for Jury Trial
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       Plaintiff’s emotional distress.
 1        WHEREFORE Plaintiff prays that this court grant relief in compensatory
 2 damages against each defendant and in favor of Plaintiff in the amount of
 3 $5,000.000.00, for an order retracting and correcting the defamatory
 4 statements, for equitable relief based on principles that are fair and just, and
 5 for judgment as also set forth below.
 6        WHEREFORE, Plaintiff prays for judgment as further set forth below
 7                                       VII.CLAIM VII
 8                       (Injunctive Relief - against defendant)
 9 131. Plaintiff incorporates by reference paragraphs 1 through 130 as though
10   fully set forth herein.
11 132. Defendant has caused irreparable harm to Plaintiff’s businesses, in
12   reputation, in income, in the goodwill in the business that no amount of
13     damages could adequately compensate Plaintiff for injuries he sustained,
14     is sustaining and will sustain, because defendant’s defamatory statements
15     continue to be posted on internet websites such as Twitter, and defendant
16     continues to assert that the statements are true thereby destroying
17     Plaintiff’s reputation and business in an ongoing and continuous manner.
18 133. Defendant continues to publish the defamatory statements on social
19   media making it impossible for Plaintiff to practice as a professional
20     wrestler and wrestling promotor and thus limiting Plaintiff’s income,
21     making the harm ongoing.
22 134. Defendant’s conduct is a substantial factor in Plaintiff’s ongoing harm.
23 135. Plaintiff prays this court for an order enjoining defendant from making
24   and publishing any, and all, defamatory statements that (1) Plaintiff
25     assaulted defendant; (2) Plaintiff committed a sexual battery on
26     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
27     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
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                                                               Complaint for Damages and
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       without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
 1     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
 2     threat and intimidation
 3 136. Plaintiff prays this court for an injunction ordering to retract the
 4   defamatory statements and to take the defamatory statements down from
 5     the websites in which the statements were made and published;
 6     specifically defendant should retract and take down any, and all,
 7     defamatory statements made and published by defendant that (1) Plaintiff
 8     assaulted defendant; (2) Plaintiff committed a sexual battery on
 9     defendant; (3) Plaintiff committed (1) and (2) in a manner that would be
10     considered a felony;(4) defendant engaged in sexual acts with Plaintiff
11     without Defendant’s consent; and/or (5) defendant was forced by Plaintiff
12     to engage in sexual acts with Plaintiff, forced meaning the use of fear,
13     threat and intimidation; and any iteration of such statements.
14                                  VIII.CLAIM VIII
15                      (Declaratory Relief against Defendant)
16 137. Plaintiff incorporates by reference paragraphs 1 through 136 as though
17   fully set forth herein.
18 138. So that Plaintiff may present to social media websites that the herein
19   defamatory statements violate the terms and conditions of social media
20     websites, if they do, regarding publication of false and defamatory
21     statements that tend to harass and harm other persons, Plaintiff prays that
22     this this court declare as false statements that (1) Plaintiff assaulted
23     defendant; (2) Plaintiff committed a sexual battery on defendant; (3)
24     Plaintiff committed (1) and (2) in a manner that would be considered a
25     felony;(4) defendant engaged in sexual acts with Plaintiff without
26     Defendant’s consent; and/or (5) defendant was forced by Plaintiff to
27     engage in sexual acts with Plaintiff, forced meaning the use of fear, threat
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                                                                Complaint for Damages and
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          and intimidation
 1                                PRAYER FOR RELIEF
 2          Plaintiff, MEEHAN, prays as to the first through eighth claims:
 3 1.       Award Plaintiff $200,000.00 in economic damages as to each
 4          defendant or the amount lost by Plaintiff as a result of defendant’s
 5          conduct multiplied by the months from June 21, 2020 to the date of the
 6          award of economic damages;
 7 2.       Award Plaintiff $5,000,000.00 as to each defendant in non-economic
 8          damages.
 9 3.       Order an injunction permanently restraining and enjoining defendant as
10          set forth in Claim VII including:
11 a. Preventing defendant from making and publishing the defamatory
12    statements or any iteration of the defamatory statements as set forth
13      above and herein;
14 b. Ordering defendant to retract the defamatory statements as set forth
15   above and herein;
16 c. Ordering defendant to direct any, and all, websites that defendant posted
17    the defamatory statements as set forth above and herein, to delete the
18      defamatory statements;
19 4.       Award Plaintiff his actual damages;
20 5.       Award Plaintiff his costs, investigatory fees and expenses to the fullest
21          extent provided by law;
22 6.       Award punitive and exemplary damages against defendant and in favor
23          of Plaintiff in the sum of $10,000,000.00 by reason of defendant’s
24          malice, hatred, ill-will, despicable and intentional acts.
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                                                                   Complaint for Damages and
                                                                        Demand for Jury Trial
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 1 7.     Awarding Plaintiff such additional and further relief as the Court deems
 2        just and proper.
 3 Dated: October 7, 2020
 4                                     UTZURRUM LAW OFFICES, A.P.C.
 5
 6
 7                                     By:         /s/ Joe Utzurrum
 8                                     Joe Utzurrum, Attorney for Plaintiff,
 9                                     JOSEPH R. MEEHAN
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                                                              Complaint for Damages and
                                                                   Demand for Jury Trial
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 9                      UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11 JOSEPH R. MEEHAN,                    ) Case No.
                                        )
12                     Plaintiff,       ) DEMAND FOR JURY TRIAL
13                                      )
                 vs.                    )
14                                      )
     ALLISON WOODARD,                   )
15                                      )
                       Defendant.       )
16                                      )
17                                      )
          Plaintiff, JOSEPH R. MEEHAN, hereby, by and through its counsel of
18
     record, request and demand that the case and matters therein be tried in
19
     front of a jury.
20
     Dated: October 7, 2020
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                                       UTZURRUM LAW OFFICES, A.P.C.
22
23
24
                                       By:         /s/ Joe Utzurrum
25
                                       Joe Utzurrum, Attorney for Plaintiff,
26
                                       JOSEPH R. MEEHAN
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28
                                                              Complaint for Damages and
                                                                   Demand for Jury Trial
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